     Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 1 of 10




                UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                         SAVANNAH DIVISION


UNITED STATES OF AMERICA           )
                                   )
                                   )
v.                                 )     Case No. CR410-160
                                   )
HEZEKIAH MURDOCK, ET AL            )


                                  ORDER

       Before the Court in this drug conspiracy case is defendant

Hezekiah Murdock’s “motion to sever” under Fed. R. Crim. P. 8. Doc.

226. He is not seeking a separate trial from his co-defendants. Rather,

he merely wants to break up one count -- for conspiracy, under Count

One -- into two. He argues that the indictment is facially alleging one

but substantively alleging two separate conspiracies, so it is unfair to

lump them together as one. The government has filed an opposition

brief, doc. 240, to which Murdock has replied. Doc. 266.

I. BACKGROUND

       The government alleges that Murdock engaged in a multi-year drug

conspiracy that ultimately led to charges against 32 defendants in this
   Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 2 of 10




and a related case. Doc. 1; see also United States v. Gweh, No. CR410-

159 (S.D. Ga. filed June 10, 2010). Count One of its indictment charges

Murdock with “Conspiracy to Possess with Intent to Distribute and to

Distribute Controlled Substances,” in violation of 21 U.S.C. § 846.

Counts Two through Six charge “Possession with Intent to Distribute”

marijuana, in violation of 21 U.S.C. § 841(a)(1), while Counts Seven

through Twenty-Six, and Thirty-Three to Thirty-Eight, charge him with

the illegal use of a communications facility to facilitate the

possession/distribution conspiracy in violation of 21 U.S.C. § 843(b).

This case is still in the pretrial motions stage; no trial date has been set.

II. ANALYSIS

      Murdock focuses on Count One. It alleges that Murdock and 11

other defendants,

  aided and abetted by each other and by others known and
  unknown, did knowingly and intentionally combine, conspire,
  confederate and agree together and with each other, and with
  others known and unknown, with some joining in the conspiracy
  earlier and others later, to possess with intent to distribute and to
  distribute 100 kilograms or more of a mixture or substance
  containing a detectable amount of marijuana, a schedule I
  controlled substance, [and] quantities of 3, 4-
  methylenedioxymethamphetamine, commonly known as “ecstasy,”
  a schedule I controlled substance, in violation of Title 21, United
  States Code, Section 841(a)(1). All done in violation of Title 21,


                                       2
      Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 3 of 10




     United States Code, Section 846 and Title 18, United States Code,
     Section 2.

Doc. 50 at 2-3. 1

        Murdock maintains that this “single conspiracy count plainly

consists of multiple conspiracies, which should be set forth in separate

counts pursuant to the mandate of [Rule 8(a)]. Subjecting Defendant to

trial on the improper multiple conspiracy charge would result in extreme

prejudice to Defendant.” Doc. 226 at 2. By “multiple,” Murdock means

two conspiracies -- one for marijuana distribution and the other for

ecstasy. Docs. 226 & 266.

        For the remainder of his motion’s factual underpinnings, Murdock

departs from the “indictment facts” and borrows the factual assertions

contained in a DEA agent’s Wiretap Act affidavit Id. at 3-4. Boiled down,

he insists that the affidavit shows he had nothing to do with any drug

beyond marijuana. Id. at 3-4. “The only references to ‘ecstasy’ in the

Affidavit are in relation Herbert Carter, who had been arrested for

possession of marijuana and ecstasy, and Jacob Varner, who was alleged




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    The Court inserted the word “and,” as its omission appears to be an oversight.


                                            3
     Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 4 of 10




to receive shipments of marijuana, cocaine, codeine and ecstasy.” Id. at

4.

       Otherwise, Murdock concludes, “[t]here are no facts to show that

Defendant entered into any alleged agreement with any of the co-

defendants to sell ecstasy.” Id. at 7. Hence, “the risk of erroneous

conviction of Murdock at trial and potential variance [between what is

alleged in the indictment and what the government adduces at trial]

constitutes sufficient grounds to support an order directing the

Government to allege the [marijuana and ecstasy] conspiracies in

separate counts.” Doc. 266 at 4-5.

      Under Rule 8(a), “an indictment . . . may charge a defendant in

separate counts with 2 or more offenses if the offenses charged . . . are of

the same or similar character, or are based on the same act or

transaction, or are connected with or constitute parts of a common

scheme or plan.” Rule 8(a) (emphasis added). In contrast, Rule 8(b) says

an indictment “may charge 2 or more defendants if they are alleged to

have participated in the same act or transaction, or in the same series of

acts or transactions, constituting an offense or offenses. The defendants

may be charged in one or more counts together or separately.” Rule 8(b)


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      Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 5 of 10




(emphasis added). 2 Murdock also cites Fed. R. Crim. P. 14(a), which

says that “[i]f the joinder of offenses . . . in an indictment . . . appears to

prejudice a defendant . . . the court may order separate trials of counts,


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    As one treatise explains:

     The case law is relatively clear that in cases involving multiple defendants, the
     propriety of joinder is tested by Rule 8(b) alone and that Rule 8(a) has no
     application. It is hard to get this reading from the text, and it may not have
     been the reading that the drafters of Rule 8 intended. Moreover, it is taken for
     granted that that felony and misdemeanor charges may be joined against
     multiple defendants, even though the provision of the rule authorizing this is
     in Rule 8(a) but not in Rule 8(b). And so while a few courts have said that Rule
     8(a) has or may have some limited applications in multi-defendant cases, the
     balance of judicial authority is otherwise.

1A C HARLES ALAN WRIGHT & ANDREW D. L EIPOLD, F EDERAL P RACTICE & P ROCEDURE §
144 (2010) (footnotes omitted). The Eleventh Circuit variously reads Rule 8(a) and
Rule 8(b) together. United States v. Dominguez, 226 F.3d 1235, 1239-40 (11th Cir.
2000) (“The drug-related and mortgage fraud-related charges in this case were
properly joined under rule 8(a)”); id. at 1239 n. 4 (“Rule 8(a) governs the joinder of
multiple offenses, and Rule 8(b) governs the joinder of multiple defendants. . . . [F]or
the purposes of our discussion of Rule 8(a), the governing principles are the same.”).
Rule 8(b), in that regard,

     is a pleading rule. United States v. Morales, 868 F.2d 1562, 1567-68 (11th Cir.
      1989). The rule permits two or more defendants to be charged in the same
     indictment if "they are alleged to have participated in the same act or
     transaction or in the same series of acts or transactions constituting an offense
     or offenses." Fed. R. Crim. P. 8(b). See also United States v. Blankenship, 382
     F.3d 1110, 1120 (11th Cir.2004); United States v. Liss, 265 F.3d 1220, 1227
     (11th Cir.2001); United States v. Andrews, 765 F.2d 1491, 1496 (11th
     Cir.1985). The rule is "to be construed liberally in favor of joinder." [ United
     States v. Bryan, 843 F.2d 1339, 1342 (11th Cir.1988)]. In analyzing a Rule 8(b)
     claim, the court looks only to the indictment in order to determine if the initial
     joinder was proper. Liss, 265 F.3d at 1228; Morales, 868 F.2d at 1567;
     Andrews, 765 F.2d at 1496.

United States v. Scrushy, 237 F.R.D. 464, 466 (M.D. Ala. 2006).


                                             5
    Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 6 of 10




sever the defendants’ trials, or provide any other relief that justice

requires.” Rule 14(a). 3

      Murdock cites the Eleventh Circuit’s “wheel conspiracy” analysis:

    For a wheel conspiracy to exist those people who form the wheel's
    spokes must have been aware of each other and must do something
    in furtherance of some single, illegal enterprise. Blumenthal v.
    United States, 332 U.S. 539, 556-57, 68 S. Ct. 248, 256-57, 92 L. Ed.
    154 (1947). Otherwise the conspiracy lacks “the rim of the wheel to
    enclose the spokes.” Kotteakos v. United States, 328 U.S. 750, 755,
    66 S. Ct. 1239, 1243, 90 L. Ed. 1557 (1946). If there is not some
    interaction between those conspirators who form the spokes of the
    wheel as to at least one common illegal object, the “wheel” is
    incomplete, and two conspiracies rather than one are charged.

United States v. Fernandez, 892 F.2d 976, 986 (11th Cir. 1989). “Similar

to the alleged conspiracy in Fernandez,” Murdock argues, “there is

simply no overarching conspiracy in this case with the objects of

distributing marijuana and ecstasy involving Defendant.” Doc. 226 at 8.

He further points out that “[t]he multiplicity of alleged conspiracies is

evidenced by the fact that only [Murdock] and [another defendant,

Terry] Damon are named in the substantive possession counts. For

these reasons, the alleged conspiracy to possess with intent to distribute



3 “A Rule 14 claim assumes that the initial joinder of the defendants was proper but
challenges their joint trial as unduly prejudicial. See United States v. Bryan, 843 F.2d
1339, 1342 (11th Cir. 1988).” Scrushy, 237 F.R.D. at 466. For the same reasons set
forth in Dominguez, 226 F.3d at 1238 n. 3, it is not necessary to apply Rule 14 here.

                                           6
    Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 7 of 10




and to distribute marijuana constitutes a separate alleged offense from

the alleged conspiracy to possess with intent to distribute and to

distribute [ecstasy], 4 and should be severed pursuant to Rule 8(a).” Doc.

226 at 8 (footnote added).

      The Eleventh Circuit has delineated some fairly loose parameters

here. See, e.g., United States v. v. Dominguez, 226 F.3d 1235, 1237 (11th

Cir. 2000) (drug-related charges could be joined in same indictment with

mortgage fraud charges, on theory that these two sets of offenses

“constituted parts of a common scheme,” based upon evidence that

defendant had submitted fraudulent income tax returns when applying

for mortgage loans in order to conceal fact that his income had been

derived from narcotics activity). Thus, an indictment alone may appear

to reflect an improper joinder of charges, id. at 1238 (agreeing that,

based on the indictment alone, “there is no explicit connection between

the [drug-related and mortgage fraud-related] charges,” and they did not

appear to be “based on the same act or transaction”) (quotes omitted),

when in fact it does not. And very little connective tissue must be pled,

let alone later shown: “the fact that one illegal activity [Dominguez

4 Murdock’s counsel wrote “marijuana” here but the Court presumes this is a typo
and that he meant to say “ecstasy.”

                                       7
   Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 8 of 10




submitted fraudulent mortgage income tax returns to conceal his illegal

drug activities] provided impetus for the other illegal activity is sufficient

to constitute a common scheme for joinder purposes.” Id. at 1239.

Hence, joinder was permitted there, upon a relatively attenuated link (at

least on paper) between otherwise demonstrably distinct charges. Id.

      The instant indictment accuses Murdock of conspiring to deal in

illegal drugs, and that he didn’t much care what kind of drugs, so long as

he could make money selling them. So it may be true that the lion’s

share of what he dealt was marijuana, and perhaps only incidentally

(even marginally) ecstasy. But that does not necessarily mean that the

alleged conduct constitutes two separate conspiracies warranting Rule 8

severance. Dominguez, for that matter, provides a useful summarization

of United States v. Weaver, 905 F.2d 1466 (11th Cir. 1990), a case that

bears many parallels:

  In Weaver, we held that the initial joinder of parties was improper
  under Rule 8(b) because the defendants-appellants were charged
  only in a cocaine conspiracy. The indictment had also charged a
  marijuana conspiracy, which, as the government conceded,
  represented a separate transaction. After examining the face of the
  indictment, we explained that the “conspiracies did not overlap
  temporally” and only two of the nine defendants who went to trial
  were charged with the marijuana conspiracy. See Weaver, 905 F.2d
  at 1477. Notwithstanding the misjoinder, the convictions were
  affirmed on harmless error grounds. See id. at 1478. The

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   Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 9 of 10




  misjoinder was rendered harmless because the trial court severed
  the marijuana charges from the cocaine charges during the fifth
  day of testimony, and gave cautionary instructions to the jury when
  it proceeded with the trial of the cocaine charges. See id. at 1478.

Dominguez, 226 F.3d at 1240 n. 5 (emphasis added).

     Here the indictment pleads one conspiracy, not two time-separated

conspiracies. It may be that the indictment is pleading one thing and the

government’s trial evidence proves another, but a DEA agent’s affidavit

is simply not trial evidence. Nor is the government required to adduce

its trial evidence now, much less its trial strategy. And its burden is not

particularly high. Indeed,

  Rule 8(a) allows joinder of offenses against a single defendant that
  “are of the same or similar character,” even if such offenses do not
  arise out of the same series of acts or transactions. United States v.
  Kopituk, 690 F.2d 1289, 1312 (11th Cir. 1982), cert. denied, 463
  U.S. 1209, 103 S. Ct. 3542, 77 L.Ed.2d 1391 (1983). Rule 8(a) is not
  limited to crimes of the “same” character but also covers those of
  “similar” character, which means “[n]early corresponding;
  resembling in many respects; somewhat alike; having a general
  likeness.” United States v. Werner, 620 F.2d 922, 926 (2d Cir. 1980)
  (quoting Webster's New International Dictionary (2d ed.)).

United States v. Walser, 3 F.3d 380, 385 (11th Cir. 1993) (emphasis

added).

     That is what the indictment here essentially alleges -- that a single

defendant engaged in an “offense” (conspiracy) to deal in drugs which


                                     9
   Case 4:10-cr-00160-WTM-GRS Document 318 Filed 12/29/10 Page 10 of 10




did not necessarily “arise out of the same series of acts or transactions”

but nevertheless encompassed them. Still, as the government’s evidence

unfolds at trial, Murdock may renew is motion for severance, if not also

(as in Dominguez), for instructions about separate conspiracies, though

cause for an instruction might not also justify Rule 8 severance. United

States v. Cadicamo, 2009 WL 141507 at * 2 (M.D. Fla. Jan. 21, 2009)

(“The charged offenses are properly joined. Thus, the Government

alleges that the witness tampering and retaliation conspiracies are

directly related to, and occurred during, the RICO conspiracy in count

one because that conduct was in furtherance of the RICO conspiracy.”)

(emphasis added).

     For now, then, Murdock’s motion to sever (doc. 226) is DENIED.

       SO ORDERED, this 29th day of December, 2010.




                       1JNTIJIED SIAThS MAGISTRATE JUDGE
                       SOUTI-IIERN DISTRICT of GEORGIA




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